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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: August 8, 2019



________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In re:                                        :
                                              :
   Denni S. Delaney                           :       Case No.: 18-56746
                                              :       Chapter 7
         Debtor(s).                           :       Judge Charles M. Caldwell
                                              :       ***********************
                                              :
                                              :

   AGREED ORDER RESOLVING MOTION FOR RELIEF FROM STAY (DOCKET
   NUMBER 44) AS TO REAL PROPERTY LOCATED AT 2620 MILLER PAUL RD,
                         GALENA, OH 43021-9260

         This matter having come before the Court on the Motion for Relief from Stay which was

filed in this court by Nationstar Mortgage LLC d/b/a Mr. Cooper ("Creditor") as Docket Number

44 (the “Motion”), and the opposition of Trustee William B. Logan (''Trustee'') thereto; and it

appearing to the Court that the parties have agreed to a course of action which will permit the
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continuation of the automatic stay conditioned upon certain provisions incorporated herein for

the protection of Creditor; and the Court, being otherwise fully advised in the premises, hereby

issues the following Order with respect thereto:

1.     The Parties agree that Denni S. Delaney (“Debtor”) did not file a response or otherwise

       appear in opposition to the Motion.

2.     The Motion is granted and the automatic stay imposed by 11 U.S.C. § 362 of the

       Bankruptcy Code is terminated with respect to Creditor and its successors and assigns as to

       Debtor only for the property owned by Debtor located at 2620 Miller Paul Rd, Galena, Ohio

       43021 (the “Property”).

3.     The Parties further agree that the automatic stay imposed by 11 U.S.C. § 362 of the

       Bankruptcy Code will be held in abeyance for 180 days from the entry of this Agreed Order

       as it relates to the Trustee, to provide the Trustee with time to market and sell the Property.

4.     The Trustee may file a Motion to Sell Property.

5.     The Motion shall be subject to Court approval and shall include the following provisions:

       a.      Prior to closing the sale of the Property, the Trustee’s counsel and/or Trustee’s

               closing agent shall obtain a current payoff quote from Creditor to ensure the full

               amount of Creditor’s lien is paid. Trustee’s counsel and/or Trustee’s closing

               agent shall contact Creditor the day of closing to ensure the payoff amount is

               valid and correct.

       b.      The sale shall not be finalized unless Creditor receives the full payoff amount or

               Creditor approves receiving a lesser amount.

       c.      The closing agent is permitted to pay real estate taxes, closing costs for the title

               policy, conveyance and recording fees, and inspections in addition to the full

               amount required to pay off the mortgage lien held by Creditor. Any remaining
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            sale proceeds shall be turned over to the Trustee for distribution, subject to

            resolution of other liens, including a second mortgage on the Property.

      d.    The Trustee is not expected to attend the closing, but may choose to attend, at his

            discretion. The closing agent shall cause to be delivered to the Trustee within

            three (3) business days after closing, proceeds due him, if any, and a copy of the

            signed closing statement. Such statement shall show:

            i.       the amount paid to each lien holder;

            ii.      the amount of any real estate taxes paid;

            iii.     the name of and amount paid to any realtor;

            iv.      any deductions from the sale proceeds with an explanation therefore;

            v.       any closing costs; and

            vi.      the calculation of the total deductions from the sale proceeds and the

                     amount of sale proceeds being paid to the Trustee.

      e.    Provided the above terms are met, the sale shall be finalized within 180 days of

            the entering of this Agreed Order.

      f.    In the event the sale is not finalized within 180 days, the Trustee may file a

            motion with the Court requesting an extension of time, not to exceed 60 days, to

            finalize any pending sale.

      g.    If the sale is not finalized within 180 days (or 240 days if the Trustee has filed a

            motion with the Court requesting an extension of time), Creditor may proceed

            with its state court remedies to liquidate the Property.
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        h.      The Trustee retains any rights to excess proceeds from any sale of the Property

                and any such excess proceeds shall be turned over to the Trustee for

                administration pursuant to future order(s) of this Court

        i.      The Property shall be sold free and clear of liens, with the liens to attach to

                proceeds in their order of priority.

SO ORDERED.


SUBMITTED BY:

   /s/ Adam B. Hall
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Copies to: Default list
